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 5
                             UNITED STATES DISTRICT COURT
 6                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 7

 8   UNITED STATES OF AMERICA,                             NO. CR13-187-TSZ

 9                                 Plaintiff,

10          v.                                             DETENTION ORDER
11
     JAMAAL BOMBER,
12
                                   Defendant.
13

14   Offenses charged:
15
            Count 1-3:      Distribution of Cocaine Base
16
     Date of Detention Hearing: June 20, 2013.
17
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
18
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
19
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
20
            1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
21
     defendant is a flight risk and a danger to the community based on the nature of the pending
22
     charges. Application of the presumption is appropriate in this case.
23
            2.      Defendant has a substantial history of failures to appear and failures to comply
24
     with supervision.
25
            3.      Defendant has a lengthy criminal history, including multiple assaults.
26
            4.      Defendant has a history of escape.

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               5.    The AUSA proffers defendant’s significant involvement in human trafficking,
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     including minors.
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               6.    The evidence against the defendant, although the least significant factor, is very
 4
     strong.
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               7.    There are no conditions or combination of conditions other than detention that
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     will reasonably assure the appearance of defendant as required or ensure the safety of the
 7
     community.
 8
               IT IS THEREFORE ORDERED:
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               (1)   Defendant shall be detained and shall be committed to the custody of the
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                     Attorney General for confinement in a correction facility separate, to the extent
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                     practicable, from persons awaiting or serving sentences or being held in custody
12
                     pending appeal;
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               (2)   Defendant shall be afforded reasonable opportunity for private consultation with
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                     counsel;
15
               (3)   On order of a court of the United States or on request of an attorney for the
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                     government, the person in charge of the corrections facility in which defendant
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                     is confined shall deliver the defendant to a United States Marshal for the
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                     purpose of an appearance in connection with a court proceeding; and
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               (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
20
                     counsel for the defendant, to the United States Marshal, and to the United States
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                     Pretrial Services Officer.
22
               DATED this 21st day of June, 2013.
23

24                                                  A
                                                    JAMES P. DONOHUE
25                                                  United States Magistrate Judge
26


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     18 U.S.C. § 3142(i)
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